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AO 240 (Rev. 01/09) App|icalion to Proceed in District Court Without Prcpaying Fees or Costs (Short Fonn)

UNITED STATES DlSTRlCT CoURT "W "3 2918
t`or the CLERK U.S. DlSTRlCT COURT

v , . Westem District of Pennsylvania WEST' D|ST'CF PENNSYLVAN|A
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\ " " t n leland/ff 7 v `
&W” ma i</UOO

s w Defendant

Civil Action No.

 

APPLICATION TO PROCEED lN DlSTRlCT COURT WlTHOUT PREPAYING FEES OR COSTS
(Short Form)

l am a plaintiff or petitioner in this case and declare that l am unable to pay the costs of these proceedings and
that l am entitled to the relief requested.

\./ ln support of this application, l answer the following questions under penalty of perjury:

l. Ifz`ncarcerated. lam being held at: N 13 _________ __ __w__ _ _M_H____'__ ____r__w_ _ M_ M_*_'_v `_ .
lt`employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. l am also submitting a similar statement from any other institution where l was
incarcerated during the last six months.

2. Ifnot incarcerated lt` l am employed, my employer’s name and address are:

\ r t
My take-home pay or wages are: $ 7 qz_ )_ 0 per (rpecijj) pay period) n/LUY\H(,% 35 j dxADl“L(/’Lf

3. Other Income. ln the past l2 months, l have received income from the following sources (chec/¢ all that appty):

(a) Business, profession, or other self-employment 0 Yes `D/No
(b) Rent payments, interest, or dividends Cl Yes d No
(c) Pension, annuity, or life insurance payments D Yes No
(d) Disability, or worker’s compensation payments D Yes No
(e) Giits, or inheritances Cl Yes VNo
(t) Any other sources Cl Yes VNO

[f you answered "Yes " to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future

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4. Amount of money that l have in cash or in a checking or savings account: $ <>L( 5 L_/

5. Any automobile, real estate, stock, bond, security, trust,jewelry,
thing of value that l own, including any item of value held in
va/ue):

art work, or other financial instrument or
SOm€OnC elSe’S name (describe the property and it.r approximate

6. Any housing, transportation, utilities, or loan

the amount of the montth e.rpense): l‘ RQJ 155\0 Q _ v t
always 16 MWD>W
5 QaMwmc 75 w w do “‘0
‘ mata levit LWJZZ

§ Pwme wise 3. 00

7. Names (or, if under l8, initials only) of all persons who are de
with each person, and how much I contribute to their support: i\//H

payments, or other regular monthly expenses (describe and provide

pendent on me for support, my relationship

8. Any debts or financial obli

t umw

gations (describe the amounts owed and to whom they are payab/e).'

Declaration.‘ l declare under penalty of perjury that the above information is true and understand that
statement may result in a dismissal of my claims.

  

Date:

H/ptul?_§/;LD/B

  
 

.-lpp/icant 's signature

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